                  IN THE UNITED STATES DISTRICT COURT FOR
                      THE WESTERN DISTRICT OF MISSOURI
                             WESTERN DIVISION

UNITED STATES OF AMERICA,        )
                                 )
              Plaintiff,         )
                                 )
vs.                              ) Case No. 20-00224-01-CR-W-DGK
                                 )
BRIAN PONTALION                  )
                                 )
              Defendant.         )
           DEFENDANT’S MOTION FOR RECONSIDERATION
                         OF DETENTION ORDER

       COMES NOW the defendant, Brian Pontalion, by and through his counsel, Ronna

Holloman-Hughes, Assistant Federal Public Defender for the Western District of Missouri,

in accordance with Fed.R.Crim.P. 46, 47 and 18 U.S.C. § § 3142, 3143, and pursuant

to 18 U.S.C. § 3145(b), requests this Court to reconsider the Detention Order entered in

this case on September 1, 2020. At the time of the hearing the Court indicated that it would

be open to a request if suitable placement would be proposed. Mr. Pontalion offers the

following:

             SUGGESTIONS IN SUPPORT OF MOTION FOR CONTINUANCE

       1.      On September 1, 2020, the court conducted a detention hearing in this matter.

The court ordered Mr. Pontalion detained, based in part on his lack of suitable housing and

his substance abuse history.

       2.      Mr. Pontalion has applied and received a bed at The Salvation Army Adult

Rehabilitation Center. Here, Mr. Pontalion will receive substance abuse treatment while

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 simultaneously ensuring community safety.

        3.      The Court commented that this is an important juncture in Mr. Pontalion’s

 life, an opportunity to make better decisions. Allowing Mr. Pontalion to enter The

 Salvation Army Adult Rehabilitation Center will put him in the position to become a

 productive member of society.



        WHEREFORE, the defendant, Brian Pontalion, respectfully requests this Court,

 reconsider the previously entered Order of Detention and set bond with conditions

 including housing at The Salvation Army Adult Rehabilitation Center.

                                                      Respectfully submitted,

                                                        /s/ Ronna Holloman-Hughes
                                                      Ronna Holloman-Hughes
                                                      Assistant Federal Public Defender
                                                      1000 Walnut, Suite 600
                                                      Kansas City, MO 64106
                                                      (816) 471-8282

                                                      ATTORNEY FOR DEFENDANT




                                 CERTIFICATE OF SERVICE

         In accordance with Rule 49(a), (b) and (d), Fed. R. Crim. P., and Rule 5(b), Fed. R. Civ. P.,
it is hereby CERTIFIED that the foregoing motion was electronically filed and emailed to Bradley
Kavanaugh, Assistant United States Attorney, on October 30, 2020.


                                              /s/ Ronna Holloman-Hughes
                                              RONNA HOLLOMAN-HUGHES




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